                    Case 4:08-cr-00425-JLH Document 124 Filed 12/19/12 Page 1 of 2
 A0245D      (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1
                                                                                                                                                               FILED
                                                                                                                                                           U.S. DI,STRICT COURT



                                    UNITED STATES DISTRICT COURT
                                                                                                                                       JAMES W.
                                                      Eastern District of Arkansas                                                     By: _ _-b't...J:-K.....i+-f~~=
                                                                                                                                                                                  ERK
          UNITED STATES OF AMERICA                                                   Judgment in a Criminal Case
                             v.                                                      (For Revocation of Probation or Supervised Release)


            DEREK DESHAWN MACK                                                       Case No.                    4:08CR00425-02 JLH
                                                                                     USMNo.                      25407-009
                                                                                                                               Chris A. Tarver
                                                                                                                             Defendant's Attorney
THE DEFENDANT:
X   admitted guilt to violation of condition(s)        _,G;;:.:e:;.:;n::=e.:.:ra"""l,_,5"-'''-'6"""'-==S'-"p""ec~i::::a:..l_ _ _ of the term of supervision.
0   was found in violation of condition(s)            - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                                                                 Violation Ended
General                      Unlawful use of a controlled substance                                                                              August 27,2012
5                            Failure to obtain employment as directed by probation officer                                                       May 27,2012
6                            Failure to notify probation officer of change in residence                                                          October 26, 2012
Special                      Failure to participate in substance abuse treatment as directed                                                     October 11, 2012



       The defendant is sentenced as provided in pages 2 through ----=2:......_of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
econollllc circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 3901                                                                        December 19 2012
                                                                                                                             of Imposition of Judgment
Defendant's Year ofBirth:         1988

City and State of Defendant's Residence:                                                                                       Signature of Judge
                  Little Rock, Arkansas
                                                                                                I. J.eon Holmes, United States Djstrjct Judge
                                                                                                                          Name and Title of Judge

                                                                                                                           December 19, 2012
                                                                                                                                         Date
                     Case 4:08-cr-00425-JLH Document 124 Filed 12/19/12 Page 2 of 2
AO 2450     (Rev. 09/11) Judgment in a Criminal Case for Revocations
            Sheet 2- Imprisonment

                                                                                                Judgment- Page _.=:,.2_   of   2
DEFENDANT:                   DEREK DESHAWN MACK
CASE NUMBER:                 4:08CR00425-02 JLH


                                                               IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of:

                             10 MONTHS with no term of supervised release to follow


    X The court makes the following recommendations to the Bureau of Prisons:
        The Court recommends defendant participate in nonresidential substance abuse treatment during
        incarceration. The Court further recommends placement in the FCI Forrest City, Arkansas, facility
        so as to remain near his family.

   X    The defendant is remanded to the custody of the United States Marshal.

   0    The defendant shall surrender to the United States Marshal for this district:
        0    at   --------- 0                          a.m.      0     p.m.    on
        0    as notified by the United States Marshal.

   0   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       0     before 2 p.m. on
       0     as notified by the United States Marshal.
       0     as notified by the Probation or Pretrial Services Office.

                                                                       RETURN

I have executed this judgment as follows:




       Defendant delivered on                                                       to

at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL


                                                                              By
                                                                                         DEPUTY UNITED STATES MARSHAL
